            Case 1-22-10661-rmb              Doc 49       Filed 12/01/22 Entered 12/01/22 10:00:07                    Desc Main
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                                UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF WISCONSIN
                                                          MADISON DIVISION

In re: Jennifer McKinney                                                                                 Case No.: 22-10661

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Mark Harring, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11 U.S.C.
Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 04/27/2022.
2) The plan was confirmed on NA.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was dismissed on 09/20/2022.
6) Number of months from filing or conversion to last payment: 5.
7) Number of months case was pending: 7.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: NA.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:           $40,730.00
        Less amount refunded to debtor:                           $.00
 NET RECEIPTS:                                                                  $40,730.00

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                      $.00
        Court Costs:                                                                $.00
        Trustee Expenses and Compensation:                                     $2,403.08
        Other:                                                                      $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                 $2,403.08

 Attorney fees paid and disclosed by debtor:               $2,500.00




 Scheduled Creditors:
Creditor                                                      Claim             Claim              Claim        Principal            Interest
Name                                         Class            Scheduled         Asserted           Allowed      Paid                 Paid

AMERICAN ACCOUNTS & ADVISERS                 Unsecured             615.00              NA               NA              .00                 .00
AMERICOLLECT                                 Unsecured                 NA              NA               NA              .00                 .00
BONNEVILLE COLLECTIONS                       Unsecured           2,094.00              NA               NA              .00                 .00
CREDIT BUREAU DATA                           Unsecured           1,427.00        2,943.44          2,943.44             .00                 .00
CREDIT BUREAU DATA                           Unsecured             181.00          181.08           181.08              .00                 .00
CREDIT BUREAU DATA INC                       Unsecured              78.00              NA               NA              .00                 .00
EMERGENCY PHYSICIANS ASSOC OF WIUnsecured                        1,577.00        1,526.00          1,526.00             .00                 .00
ENHANCED RECOVERY CORP                       Unsecured              59.00              NA               NA              .00                 .00
GUNDERSEN HEALTH SYSTEM                      Unsecured        133,000.00         3,547.20          3,547.20             .00                 .00
INTERNAL REVENUE SERVICE                     Priority         555,946.69      277,199.92       277,199.92               .00                 .00
INTERNAL REVENUE SERVICE                     Secured         1,033,490.33    1,033,490.33    1,033,490.33               .00                 .00
INTERNAL REVENUE SERVICE                     Unsecured                 NA              NA               NA              .00                 .00
INTERNAL REVENUE SERVICE                     Unsecured                 NA       97,542.21       97,542.21               .00                 .00
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                                  UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF WISCONSIN
                                                      MADISON DIVISION

In re: Jennifer McKinney                                                                                   Case No.: 22-10661

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim                Claim              Claim       Principal           Interest
Name                                       Class              Scheduled            Asserted           Allowed     Paid                Paid
MARINE CREDIT UNION                        Secured            307,092.00          307,869.47     307,869.47              .00                 .00
MARINE CREDIT UNION                        Secured                    NA            3,964.26              .00            .00                 .00
UNITED STATES TREASURY                     Secured              38,326.92          38,326.92      38,326.92       38,326.92                  .00
VISTA RADIOLOGY                            Unsecured               378.00             323.00           323.00            .00                 .00
WAKEFIELD & ASSOCIATES                     Unsecured             1,526.00                NA               NA             .00                 .00

 Summary of Disbursements to Creditors:                                                               Claim       Principal           Interest
                                                                                                      Allowed     Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                           307,869.47             .00                  .00
     Mortgage Arrearage:                                                                                .00             .00                  .00
     Debt Secured by Vehicle:                                                                           .00             .00                  .00
     All Other Secured:                                                                        1,071,817.25       38,326.92                  .00
 TOTAL SECURED:                                                                                1,379,686.72       38,326.92                  .00

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                        .00              .00                 .00
     Domestic Support Ongoing:                                                                          .00              .00                 .00
     All Other Priority:                                                                         277,199.92              .00                 .00
 TOTAL PRIORITY:                                                                                 277,199.92              .00                 .00

 GENERAL UNSECURED PAYMENTS:                                                                     106,062.93              .00                 .00

 Disbursements:
        Expenses of Administration:                                                               $2,403.08
        Disbursements to Creditors:                                                              $38,326.92
 TOTAL DISBURSEMENTS:                                                                                                              $40,730.00

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:     11/30/2022                                     By:     /s/Mark Harring
                                                                                    Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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